                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )       NO. 2:08-00014
                                                 )       JUDGE CAMPBELL
CLIFFORD LEWIS                                   )

                                          ORDER

      Pending before the Court is the Government’s Motion to Substitute Counsel for Sentencing

Hearing Only (Docket No. 264). The Motion is GRANTED.

      It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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